Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 1 of 16 PageID #: 630




                  EXHIBIT A
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 2 of 16 PageID #: 631




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

MIXING & MASS TRANSFER                           )
TECHNOLOGIES, LLC,                               ) Civil Action No.
                    Plaintiff,                   ) 1:19-cv-00529-MN
                                                 )
                  v.                             )
                                                 )
SPX CORPORATION, et al.,                         )
                               Defendants.       )
                                                 )

                  PLAINTIFF’S SUR-REPLY BRIEF IN OPPOSITION TO
                   DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES


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Dated: March 12, 2020




SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 3 of 16 PageID #: 632




                                                TABLE OF CONTENTS


I.    DEFENDANTS MISCONSTRUE THE HOLDINGS OF THEIR NEWLY
      CITED CASES AND MISSTATE THE LEGAL EFFECT OF THOSE
      CASES AND THEIR APPLICABILITY TO DEFENDANTS’ MOTION. ..........................1


II.   CONCLUSION .......................................................................................................................8




                                                                  ii
SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 4 of 16 PageID #: 633




                                              TABLE OF AUTHORITIES

CASES

Barnes v. Morris,
   No. 1:16-CV-00500, 2018 WL 338631 (M.D. Pa. Jan. 9, 2018)...............................................8

In re Bath and Kitchen Fixtures Antitrust Litigation,
    535 F.3d 161 (3d Cir. 2008).......................................................................................................2

Buckhannon Board & Care Home, Inc. v. West Virginia Dept. of Health and
   Human Resources,
   532 U.S. 598 (2001) ...........................................................................................................3, 4, 8

Capella Photonics, Inc. v. Cisco Systems Inc.,
   No. 14-CV-03348-EMC, 2019 WL 4242665 (N.D. Cal. Sep. 6, 2019) ....................................7

Carter v. United States,
   547 F.2d 258 (5th Cir. 1977) .....................................................................................................2

CRST Van Expedited, Inc. v. Equal Employment Opportunity Commission,
  136 S. Ct. 1642 (2016) ...........................................................................................................3, 4

Giesecke & Devrient GmbH v. United States,
   No. 17-1812C, 2020 WL 401806 (Fed. Cl. Jan. 24, 2020) ................................................3, 5, 6

Martinez v. United States,
  94 Fed. Cl. 176 (Fed. Cl. 2010) .................................................................................................6

Raniere v. Microsoft Corp.,
   887 F.3d 1298 (Fed. Cir. 2018)..................................................................................3, 4, 5, 6, 7

RFR Industries v. Century Steps, Inc.,
  477 F.3d 1348 (Fed. Cir. 2007)........................................................................................ Passim

Smalley v. Account Services Collections, Inc.,
   No. 2:15CV1488, 2017 WL1092678 (W.D. Pa. Mar. 23, 2017) ...............................................8

Stockade Companies, LLC v. Kelly Restaurant Group, LLC,
    No. A-17-CV-143 RP, 2018 WL 3018177 (W.D. Tex. Jun. 15, 2018) .....................................8

Transport Technologies, LLC v. Los Angeles Metropolitan Transportation
   Authority,
   No. CV 1506423-RSWL-MRW, 2019 WL 2058630 (C.D. Cal. May 8, 2019) ........................7




                                                                   iii
SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 5 of 16 PageID #: 634




STATUTES, RULES & REGULATIONS

35 U.S.C. § 285 ................................................................................................................1, 2, 3, 7, 8

D. Del. LR 7.1.3(c)(2) ......................................................................................................................1

Fed. R. Civ. P. 5(b)(2)......................................................................................................................2

Fed. R. Civ. P. 12(b)(6)....................................................................................................................5

Fed. R. Civ. P. 41 .............................................................................................................................2

Fed. R. Civ. P. 41(a)(1) ....................................................................................................................1

Fed. R. Civ. P. 41(a)(1)(i) ............................................................................................................2, 3

Fed. R. Civ. P. 41(a)(1)(A)(i) ..........................................................................................2, 5, 6, 7, 8

Fed. R. Civ. P. 41(a)(1)(A)(ii) .........................................................................................................8

Fed. R. Civ. P. 41(a)(2) ................................................................................................................2, 5

Fed. R. Civ. P. 54 .............................................................................................................................8

Fed. R. Civ. P. 54(a) ........................................................................................................................6




                                                                       iv
SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 6 of 16 PageID #: 635




    I. DEFENDANTS MISCONSTRUE THE HOLDINGS OF THEIR NEWLY CITED
       CASES AND MISSTATE THE LEGAL EFFECT OF THOSE CASES AND
       THEIR APPLICABILITY TO DEFENDANTS’ MOTION.

       Defendants’ Reply Brief cites and relies on new cases in support of their motion. Based

on Defendants’ description of the holdings, legal effect and applicability of these cases,

Defendants could have and should have cited these cases in a full and fair Opening Brief. See

D. Del. LR 7.1.3(c)(2). Plaintiff files its Sur-Reply Brief to set the record straight.

       Defendants assert that Plaintiff cannot avoid contractual and statutory liability for

attorneys’ fees simply because its claims were dismissed—either by the Court or voluntarily by

Plaintiff—without prejudice. (D.I. 36 at 5.) In support of their assertion, Defendants state,

“None of the cases relied upon by [Plaintiff] are still good law.” (D.I. 36 at 5.)

       The “cases” to which Defendants refer is one case, RFR Industries v. Century Steps, Inc.,

477 F.3d 1348 (Fed. Cir. 2007), which Defendants failed to cite in their Opening Brief. Plaintiff

cited RFR Industries in its Answering Brief as controlling on the issue of whether Defendants are

“prevailing” parties in this case, which is the first necessary predicate to any attorneys’ fee award

under 35 U.S.C. § 285 or the parties’ 2007 settlement agreement. Defendants acknowledge that

the holding of RFR Industries is that a voluntary dismissal without prejudice under Rule 41(a)(1)

cannot, as a matter of law, confer prevailing party status on the defendant. (D.I. 36 at 5.) As a

Federal Circuit case on a patent law issue—whether a party is prevailing under 35 U.S.C.

§ 285—RFR Industries is binding authority on that issue. Therefore, to prevail, Defendants have

no choice but to attack and try to knock out RFR Industries as no longer being “good law.”

       In RFR Industries, plaintiff RFR filed a complaint against defendant Century alleging

direct, induced and contributory infringement of two embedded railway track system patents

assigned to RFR. After defendant Century filed and faxed an answer to RFR’s complaint

asserting RFR’s claims were barred by the doctrines of patent exhaustion and implied license,

                                                  1
SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 7 of 16 PageID #: 636




RFR filed a document titled, “RFR’s Notice of Dismissal Without Prejudice and Alternative

Motion to Dismiss Without Prejudice,” in which RFR stated it was dismissing the action under

Fed. R. Civ. P. 41(a)(1)(i).1 RFR Industries, 477 F.3d at 1350.

       Century opposed RFR’s notice of dismissal and moved for judgment on the pleadings.

The district court ruled that RFR’s attempted notice of dismissal without prejudice under

Rule 41(a)(1)(i) was ineffective as untimely because Century had previously filed and faxed its

answer to RFR. The court denied RFR’s alternative motion to dismiss under Rule 41(a)(2), and

granted Century’s motion for judgment on the pleadings based on its conclusion that RFR’s

patent rights were exhausted. Id. On appeal, RFR argued it had an absolute right to dismiss its

action without prejudice because Century had not properly served its answer before RFR filed its

notice of dismissal. Id. at 1351. The Federal Circuit agreed and ruled the case was dismissed

without prejudice when RFR filed its notice of dismissal because Century failed to comply with

Rule 5(b)(2) regarding service of its answer.2 Id. at 1351-52.

       Despite this ruling, Century argued the court could still affirm the district court’s award

of attorneys’ fees under 35 U.S.C. § 285. The Federal Circuit disagreed and reversed the district

court’s award of attorneys’ fees, holding a plaintiff’s voluntary dismissal without prejudice



1
  As explained in Plaintiff’s Answering Brief, Rule 41(a)(1)(i) is the predecessor to
Rule 41(a)(1)(A)(i). Both Rule 41(a)(1)(i) and Rule 41(a)(1)(A)(i) permit a plaintiff to
voluntarily dismiss an action without a court order by filing a notice of dismissal at any time
before the opposing party serves either an answer or a motion for summary judgment.
2
  Because the right to a dismissal under Rule 41 is not unique to patent law, the Federal Circuit
in RFR Industries deferred to regional circuit law—in that case the Fifth Circuit—on that issue.
Id. at 1351. There is no difference under Third Circuit law. See In re Bath and Kitchen Fixtures
Antitrust Litigation, 535 F.3d 161, 165 (3d Cir. 2008) (vacating district court’s order striking as
untimely notice of voluntary dismissal under Rule 41(a)(1)(A)(i) and remanding with
instructions to enter an order dismissing the complaint without prejudice) (citing and quoting
Carter v. United States, 547 F.2d 258, 259 (5th Cir. 1977)).


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SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 8 of 16 PageID #: 637




pursuant to Rule 41(a)(1)(i) does not bestow “prevailing party” status upon the defendant under

35 U.S.C. § 285. Id. at 1352-53. A plaintiff’s voluntary dismissal without prejudice under

Rule 41(a)(1)(i) is neither judicially sanctioned—it does not require court approval or action at

all—nor does it constitute a change in the legal relationship of the parties because the plaintiff is

free to refile its action. Id. at 1353. Both of these are necessary predicates to a defendant’s

“prevailing party” status.

       According to Defendants, RFR Industries “was decided before, and conflicts with CRST

[Van Expedited, Inc. v. Equal Employment Opportunity Commission, 136 S. Ct. 1642 (2016)],

and at least two decisions show that RFR Industries is no longer good law for that proposition.”

(D.I. 36 at 5.) Needing to knock out RFR Industries to have any chance to win their fee motion,

Defendants misconstrue the holdings of CRST and two other cases, Raniere v. Microsoft Corp.,

887 F.3d 1298 (Fed. Cir. 2018), and Giesecke & Devrient GmbH v. United States,

No. 17-1812C, 2020 WL 401806 (Fed. Cl. Jan. 24, 2020), and misstate the legal effect of these

cases on RFR Industries and their applicability to Defendants’ fee motion.

       RFR Industries was decided in 2007; CRST was decided in 2016. CRST did not overrule

RFR Industries or any case holding that a plaintiff’s voluntary dismissal without prejudice is

insufficient to confer “prevailing party” status on a defendant. CRST clarified the Supreme

Court’s prior precedents, including Buckhannon Board & Care Home, Inc. v. West Virginia

Dept. of Health and Human Resources, 532 U.S. 598, 602-605 (2001), and held “a defendant

need not obtain a favorable judgment on the merits to be a ‘prevailing party’” under federal fee-

shifting statutes, and eliminated the distinction between court orders finally dismissing claims for

merits-based and non-merits-based reasons. CRST, 136 S. Ct. at 1646, 1651-1652. “The

defendant may prevail even if the court’s final judgment rejects the plaintiff’s claim for a



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SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 9 of 16 PageID #: 638




nonmerits reason.” Id. at 1651. Based on its holding, the Supreme Court vacated the appeals

court’s order precluding the defendant from recovering attorneys’ fees as a prevailing party when

the district court entered a final order dismissing the EEOC’s claims on behalf of 67 women for

failing to satisfy its statutory duty to investigate and conciliate. Id. at 1654.3

         After CRST, courts including the Federal Circuit have continued to cite and follow

Buckhannon, as clarified by CRST. In Raniere v. Microsoft Corp., 887 F.3d 1298 (Fed. Cir.

2018), one of the cases Defendants cite in support of its assertion that RFR Industries is no

longer good law (D.I. 36 at 5), the Federal Circuit describes CRST as clarifying the application of

Buckhannon to defendants seeking prevailing-party status. Id. at 1306. The relevant inquiry

after CRST “is not limited to whether a defendant prevailed on the merits, but also considers

whether the district court’s decision—‘a judicially sanctioned change in the legal relationship of

the parties’—effects or rebuffs a plaintiff’s attempt to effect a ‘material alteration in the legal

relationship between the parties.’” Raniere, 887 F.3d at 1306 (quoting CRST, 136 S. Ct. 1646,

1651).

         In Raniere, the Federal Circuit held that the district court’s order dismissing with

prejudice plaintiff’s patent infringement claims for lack of standing without adjudicating the

patent infringement claim, was a court order that sufficiently altered the legal relationship

between the parties to make defendant a prevailing party. Id. at 1303. “Even without CRST, we




3
  CRST did not overrule Buckhannon or change any of the other “prevailing party” requirements
in Buckhannon, like the requirement that a party obtain relief from a court order or other
judicially sanctioned legal change in the legal relationship of the parties. CRST left open the
question of whether a defendant must obtain a preclusive judgment to be a prevailing party.
CRST, 136 S. Ct. at 1653.



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SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 10 of 16 PageID #: 639




conclude the district court’s dismissal with prejudice of Raniere’s case for lack of standing is

tantamount to a judgment on the merits.” Id. (emphasis in original).

       Raniere does not demonstrate RFR Industries is no longer good law. Raniere is also

distinguishable from the present case, in which the only order is the Court’s dismissal “without

prejudice” of two of Plaintiff’s six claims, with leave to amend, followed by Plaintiff’s filing less

than two weeks later a notice of voluntary dismissal “without prejudice” under

Rule 41(a)(1)(A)(i).

       Similarly, Giesecke & Devrient GmbH v. United States, No. 17-1812C, 2020 WL 401806

(Fed. Cl. Jan. 24, 2020),4 another case Defendants cite in support of its assertion that

RFR Industries is no longer good law (D.I. 36 at 6), cites both CRST and Raniere. In Giesecke,

the court entered an order granting plaintiff’s motion for leave to amend its complaint and

dismissing without prejudice plaintiff’s infringement claims relating to certain card-based

products under Rule 41(a)(2). Giesecke, 2020 WL 401806, at *4.

       In Giesecke, during oral argument on plaintiff’s motion and defendant’s motion to

dismiss under Rule 12(b)(6), plaintiff’s counsel assured the court that plaintiff would not seek

discovery regarding the removed products, add those products back into the suit, or file a

separate suit against defendant involving those products. Id. at *4, *9-10. The court relied on

those representations to distinguish the case from other cases involving dismissals without

prejudice, in which plaintiffs are free to raise the identical dismissed claims again. Id. at *10.

       Giesecke is very different from the present case, in which Plaintiff filed a notice of

voluntary dismissal without prejudice under Rule 41(a)(1)(A)(i) just under two weeks after the



4
  As a decision by the United States Court of Federal Claims, Giesecke is not binding precedent
on this Court.


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SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 11 of 16 PageID #: 640




Court dismissed without prejudice two of Plaintiff’s six claims, with leave to amend, and denied

Defendants’ motion to dismiss the remaining four claims.

       Defendants also cite Martinez v. United States, 94 Fed. Cl. 176, 183 (Fed. Cl. 2010),

another Court of Federal Claims decision, as “see also” authority purporting to invalidate or call

into question the continued vitality of RFR Industries. (D.I. 36 at 6.) But the court in Martinez

expressly distinguished RFR Industries from the facts of that case, which involved a court’s

order—based on the parties’ joint request—remanding plaintiff Army officer’s disability claims

to an administrative agency based on the agency’s admitted administrative error. Martinez,

94 Fed. Cl. at 182-183. Martinez is neither binding nor persuasive authority and does nothing to

undermine the ongoing validity and controlling nature of RFR Industries.

       The above analysis demonstrates that CRST, Raniere, Giesecke and Martinez do not

overrule or question the holding or precedential effect of RFR Industries. Instead, RFR

Industries remains good law after the above decisions and controls the Court’s decision on

Defendants’ motion.

       This case is almost on all fours with RFR Industries. In RFR Industries, plaintiff’s

voluntary dismissal occurred prior to the court granting judgment on the pleadings, which was

declared a nullity on appeal. Here, the Court entered an interlocutory order dismissing without

prejudice two of Plaintiff’s six claims, with leave to amend, followed less than two weeks later

by Plaintiff’s voluntary dismissal without prejudice of all claims under Rule 41(a)(1)(A)(i). The

Court’s order dismissing without prejudice counts 1 and 5 of Plaintiff’s complaint does not

constitute a final disposition of any of Plaintiff’s claims—on the merits or otherwise—on which

an appeal would lie. Thus, it is neither a “judgment” under Fed. R. Civ. P. 54(a), nor does it

convey prevailing party status because it does not change the legal relationship of the parties.



                                                 6
SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 12 of 16 PageID #: 641




Similarly, Plaintiff’s voluntary dismissal without prejudice lacks any “judicial imprimatur.”

Plaintiff is free to refile its claims at any time.

        Applying RFR Industries to the present case, the Court must conclude Defendants are not

“prevailing parties” under 35 U.S.C. § 285. Therefore, the Court need not reach the second,

third, or fourth parts of its inquiry on Defendants’ motion: whether this is an “extraordinary”

case, which would give the Court discretion to award Defendants’ attorneys’ fees; if so, whether

the Court should exercise its discretion and award any of Defendants’ attorneys’ fees; and

whether Defendants’ claimed fees are reasonable.

        This conclusion is bolstered by other post-CRST district court cases in the Third Circuit

and elsewhere—some of which apply Federal Circuit law and cite CRST, Raniere and/or

RFR Industries—holding court orders dismissing claims without prejudice and voluntary

dismissals, either with or without prejudice under Rule 41(a)(1)(a)(i) or (ii), do not convey

“prevailing party” status on a defendant because they lack “judicial imprimatur” or do not alter

the legal relationship of the parties. See, e.g., Capella Photonics, Inc. v. Cisco Systems Inc.,

No. 14-CV-03348-EMC, 2019 WL 4242665, at *3-4 (N.D. Cal. Sep. 6, 2019) (defendants were

not “prevailing party” based on court’s order dismissing without prejudice plaintiff’s patent

infringement claims for mootness after PTAB canceled patents-in-suit during inter partes review

while case stayed; dismissal without prejudice did not constitute a change in the legal

relationship of the parties because the plaintiff is free to refile its action); Transport

Technologies, LLC v. Los Angeles Metropolitan Transportation Authority, No. CV 1506423-

RSWL-MRW, 2019 WL 2058630 (C.D. Cal. May 8, 2019) (patent case following Federal

Circuit law and citing CRST, Raniere and RFR Industries; defendant is not prevailing party

based on court’s dismissal without prejudice of plaintiff’s case as moot after PTAB’s



                                                      7
SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 13 of 16 PageID #: 642




cancellation of patents-in-suit); Stockade Companies, LLC v. Kelly Restaurant Group, LLC,

No. A-17-CV-143 RP, 2018 WL 3018177, at *5 & n.2 (W.D. Tex. Jun. 15, 2018) (defendant is

not prevailing party when plaintiff voluntary dismisses complaint without prejudice because

dismissal did not alter the legal relationship between the parties; citing Buckhannon,

RFR Industries and other cases); Smalley v. Account Services Collections, Inc., No. 2:15CV1488,

2017 WL1092678, at *2-*3 (W.D. Pa. Mar. 23, 2017) (stipulated voluntary dismissal with

prejudice under Rule 41(a)(1)(A)(ii) does not confer prevailing party status on a defendant

because they lack the “judicial intervention or relief” that Buckhannon requires to obtain

“prevailing party” status) (collecting cases); Barnes v. Morris, No. 1:16-CV-00500, 2018 WL

338631, at *2 (M.D. Pa. Jan. 9, 2018) (same; citing Smalley).

   II. CONCLUSION

       Defendants cannot be “prevailing parties” under 35 U.S.C. § 285 without a final

judgment or other court order dismissing with prejudice Plaintiff’s claims from which Plaintiff

has the right to appeal. This is a necessary predicate under 35 U.S.C. § 285 and Rule 54.

Because the Court’s dismissed without prejudice counts 1 and 5 of Plaintiff’s complaint with

leave to file an amended complaint reasserting those claims, and Plaintiff timely filed a notice of

dismissal without prejudice under Rule 41(a)(1)(A)(i), Plaintiff remains free to file a new action

in the future re-pleading all of its dismissed claims. Under these circumstances, any conclusion

that Defendants are “prevailing parties” under 35 U.S.C. § 285 would be contrary to

Rule 41(a)(1)(A)(i), Rule 54, and the Federal Circuit’s binding precedent in RFR Industries.




                                                 8
SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 14 of 16 PageID #: 643




       For all of the above reasons, and the reasons stated in Plaintiff’s Answering Brief, the

Court should deny Defendants’ motion for attorneys’ fees and costs in defending against

Plaintiff’s claims and in filing its motion.

                                               Respectfully submitted,


Dated: March 12, 2020                             s/ Stacey A. Scrivani
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                                                  9
SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 15 of 16 PageID #: 644




                                CERTIFICATE OF SERVICE

       I, Stacey A. Scrivani, Esquire, certify that on this date, I served a true and correct copy of

Plaintiff’s Answering Brief in Opposition to Defendants’ Motion for Attorneys’ Fees on

Defendants through their below counsel through the Court’s ECF system and by electronic mail.

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SL1 1631737v1 066249.00009
Case 1:19-cv-00529-MN Document 39-1 Filed 03/12/20 Page 16 of 16 PageID #: 645




 MIXING & MASS TRANSFER                            )
 TECHNOLOGIES, LLC,                                )
           Plaintiff,                              ) Civil Action No. 1:19-cv-00529-MN
                                                   )
         v.                                        )
                                                   )
 SPX CORPORATION, et al.,                          ) Proposed Order
           Defendants.                             )
                                                   )

                                 ORDER DENYING MOTION

       AND NOW, this _________ day of _________________________, 2020, upon

consideration of defendants’ motion for attorneys’ fees, plaintiff’s response thereto, and other

matters of record, IT IS HEREBY ORDERED that defendants’ motion for attorneys’ is

DENIED.


Date: _________________                       __________________________________________
                                              United States District Judge Maryellen Noreika




SL1 1631737v1 066249.00009
